    Case 3:02-cv-00339-AN            Document 107-1         Filed 05/29/19            Page 1 of 21




    Oregon's Performance Pinn for Mental Health Services for Adults with Serious and
                               Persistent Mental Illness

A. Recitals:

         1.      The terms of this Performance Plan for Adults with Serious and Persistent Mental
Illness ("P lan") relate to adults with serious and persistent mental illness ("SPMI") in Oregon.
This Plan is intended to better provide adults in Oregon with serious and persistent mental illness
with community services that will assist them to live in the most integrated setting appropriate to
their needs, achieve positive outcomes, and prevent their unnecessary institutionalization.

        2.     Title II of the Americans with Disabilities Act ("ADA") requires that public
entities administer services, programs, and activities in the most integrated setting appropriate to
the needs of qualified individuals with disabilities. 42 U.S.C . §§ 12101 el seq.; Olmstead v. L. C.,
527 U.S. 581(1999);28 C .F.R. § 35.130(d). Further, a " public entity shall make reasonable
modifications in policies, practices, or procedures when the modifications are necessary to avoid
discrimination on the basis of disability, unless the public entity can demonstrate that making the
modifications would fundamentally alter the nature of the service, program, or activity." 28
c.r.R. § 35.130(b)(7).
        3.      Oregon recognizes and supports the Congressional finding that "the Nation's
proper goals regarding individuals with disabilities are to assure equality of opportunity, full
pa11icipation, independent living, and economic self-sufficiency." See 42 U.S.C. § 12101(a)(7).

         4.     Oregon is committed to compliance with the ADA. The Oregon Health Authority
("OHA") is taking steps to improve the lives of Oregonians with serious and persistent mental
illness and to resolve the United States Department of Justice's ("USDOJ's") investigation of the
State of Oregon's compliance with the integration mandate of Title II of the ADA and Olmstead
v. L. C., 527 U.S. 581 (1999), as they apply to adults with serious and persistent mental illness.
This Plan is intended to further that progress.

       5.      OHA does not deliver services directly, but does administer federal and state
funds used for services described in this Plan.

        6.      This Plan is not and shall not be construed as an admission on any issue or as an
admission of liability by the State of Oregon. Oregon denies liability. This Plan does not create
any third party rights.

        7.     The measures in this Plan are goals that OHA aspires to meet, and OHA agrees to
make diligent efforts to meet them. OHA has begun implementation of a number of
improvements since November 20 12, the State has invested substantial fonds in that effort, and
the State's goal through the use of the performance outcome measures below is to make
additional system reforms in the next tluee years.

       8.    If OHA does not meet any particular target or outcome measure at the end or each
year, OHA and the Independent Consultant shall meet to determine the underlying reasons why




                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                               Declaration of Tom Stenson, Exh. A, Page 1 of 21
     Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19            Page 2 of 21




the outcome measure was not achieved, whether adjustments need to be made to that measure,
whether the State has developed the infrastructure necessary to improve its performance and
reach the outcome measure, whether to provide additional time for accomplishment of the
measure, and whether to increase the term of this Plan. Any modification shall be in writing.


B. General Terms and Definitions

        1.     The effective date of this Plan is July 1, 2016.

       2.      OHA will advocate to the Oregon Health Policy Board ("Board") and the Oregon
Health Plan Quality Metrics Committee established under ORS chapter 413 (" Committee") that
the Board and Committee develop additional metrics consistent with the performance outcome
measures in this Plan.

        3.      OHA shall collect and maintain data and records on each of the provisions of this
Plan, in order to document that the requirements of this Plan are being properly implemented,
and shall make such records reasonably available to the United States and the Independent
Consultant, as set forth in Section F below.

       4.    This Plan, including the above recitals, shall not be enforceable in any court
proceeding. Noncompliance with any provision of this Plan shall not be actionable in court.

        5.     In the event that responsibility for the provision and oversight of mental health
services in Oregon is transferred to another state agency, those obligations of this Plan that nm to
the Oregon Health Authority (OHA) shall run to OHA's successor agency.

       6.      The following definitions are to be used in connection with this Plan:

        a.      An "Acute Care Psychiatric Facility" or "Acute Care Psychiatric Hospital" is
a hospital that provides 24 hour-a-day psychiatric, multi-disciplinary, inpatient or residential
stabilization, care and treatment, for adults ages 18 and older with severe psychiatric disabilities.

         b.     "Assertive Community Treatment" (ACT) is an evidence-based practice
designed to provide comprehensive treatment and support services to individuals with serious
and persistent mental illness. ACT is intended to serve individuals who have severe functional
impairments and who have not responded to traditional psychiatric outpatient treatment. ACT
services are provided by a single multi-disciplinary team, which typically includes a psychiatrist,
a nurse, and at least two case managers, and are designed to meet the individual needs of each
individual and to help keep the individual in the community and out of a strnctured service
setting, such as residential and/or hospital care. ACT is characterized by (1) low client to staff
ratios; (2) providing services in the community rather than in the office; (3) shared caseloads
among team members; (4) 24-hour staff availability, (5) direct provision of all services by the
team (rather than referring individuals to other agencies); and (6) time-unlimited services.

       c.      "CCO Region" means the geographical area served by a CCO.

                                                  2

                                                              Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                                Declaration of Tom Stenson, Exh. A, Page 2 of 21
     Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19           Page 3 of 21




        cl.    " Competitive Integrated Employ1i1ent" means full-time or part time work:

               (i)     at minimum wage or higher, at a rate that is not less than the customary
                       rate paid by the employer for the same or similar work performed by other
                       employees who are not individual s with di sabilities, and who are s imilarly.
                       situated in similar occupations by the same employer and who have
                       similar training, experience, and skill;

               (ii)    with cJigibi_lity for the level of benefits provided to other employees;

               (iii)   at a location where the employee interacts with other persons who are not
                       individuals with disabilities (not including supervi sory personnel or
                       individuals who are providing services to such employee) to the same
                       extent that individuals who are not individuals with disabilities and who
                       are in comparabl e positions internet with other persons; and

               (iv)    as appropriate, presents oppor11mities for advancement that arc similur to
                       those for other employees who are not individuals with di sabilities nnd
                       who have s imilar posi tions.

         e.      " Discharge Planning" means a process that begins upon admission to the Oregon
Stale Hospital and that is based on the presumption that with sufficient supports and services, all
individuals can live in an integrated community setting. Discharge planning is developed and
implemented through a person-centered planning process in which the individual has u primary
role and is based on principles of self-determination. Discharge planning teams at OSH include
a representati ve of a community mental health provider from the county where the individual is
likely to transition.

       f.       " Evidence-Based" refers to well-defined practices that are based directly on
scientific evidence and that have been demonstrated to be effective tluough research studies.

       g.      "Fidelity" means that the ACT provider or supported employment provider is
providing services that are faithful to the evidence-based practice model (ACT or Individual
Placement and Support) and obtains a satisfactory score from the Oregon ACT Center of
Excellence or the Oregon Supported Employment Center of Exce llence, as part of their. regular
reviews.

       h.      "Homeless" as used in this Plan, means an individual with no fixed address,
including individual s in shelters. " Homeless," as used in this Plan, is limited to adult
individuals with SPMI who are homeless.

       L       ".Jail Diversion Services" are community-based services that are designed to
keep individuals with behavioral health issues out of the criminal justice system and, instead,
supported by other community based services, such as mental health services, substance abuse
services, employment services, and housing. Jail diversion services are intended to minimize
contact with law enforcement, avoid jail time, and/or reduce jail time. These services are

                                                 3

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                               Declaration of Tom Stenson, Exh. A, Page 3 of 21
     Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19           Page 4 of 21




intended to result in the reduction of the number of individuals with mental illness in the criminal
justice system or Oregon State Hospital.

        j.      "Mobile Crisis Services" are mental health services for people in crisis, provided
by mental health practitioners who respond to behavioral health crises onsite at the location in
the community where the crisis arises and who provide a face-to-face therapeutic response. The
goal of mobile crisis services is to help an individual resolve a psychiatric crisis in the most
integrated setting possible, and to avoid unnecessary hospitalization, inpatient psychiatric
treatment, involuntary commitment, and arrest or incarceration.

       k.       "Peer-Delivered Services" are community-based services and supports provided
by peers, and peer support specialists, to individuals or family members with similar lived
experience. These services are intended to support individuals and families to engage
individuals in ongoing treatment and to live successfully in the community. OHA may utilize
peer-delivered services in providing other mental health services, such as ACT, crisis services,
warm handoffs from hospitals, and services at the Oregon State Hospital.

        I.     "Ready to Place/Ready to Transition" means that, consistent with the scope of
the order of commitment, the individual's discharge planning team has determined that a
placement in the community is the most integrated setting appropriate for the individual, and that
the individual was subject to a discharge planning process consistent with the definition in this
Plan.

        m.      "Sequential Intercept Model" is the model which describes a series of junctures
in the criminal justice system where interventions can be made to prevent an individual with
mental illness from entering the criminal justice system or from becoming further involved in the
system, by instead receiving appropriate community-based n?ental health interventions, to the
benefit of the individual and the community.

       n.      "Supported Employment Services" are individualized services that assist
individuals to obtain and maintain integrated, paid, competitive employment. Supported
employment services are provided in a manner that allows individuals to work the maximum
number of hours consistent. with their preferences, interests and abilities and are individually
planned, based on person-centered planning principles and evidence-based practices.

        o.      "Supported Housing" is permanent housing with tenancy rights and support
services that enables people to attain and maintain integrated affordable housing. Support
services offered to people living in supported housing are flexible and are available as needed
and desired, but are not mandated as a condition of obtaining tenancy. Tenants have a private and
secure place to make their home, just like other members of the community, with the same rights
and responsibilities. Supported housing enables individuals with disabilities to interact with
individuals without disabilities to the fullest extent possible. Supported housing is scattered site
housing. To be considered supported housing under this Plan, for buildings with two or three
units, no more than one unit may be used to provide supported housing for tenants with SPMI
who are referred by OI-IA or it contractors, and for buildings or complexes with four or more
units, no more than 25% of the units in a building or complex may be used to provide supported

                                                 4

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                               Declaration of Tom Stenson, Exh. A, Page 4 of 21
     Case 3:02-cv-00339-AN              Document 107-1        Filed 05/29/19           Page 5 of 21




housing for tenants with SPMI who are referred by OHA or it contractors. Supported housing
has no more than two people in a given apartment or house, with a private bedroom for each
individual. If lwo people are living together in an apartment or house, the individuals must be
able to select their own roommates. Supported housing does not include hous.ing where
providers can reject individuals for placement clue to medical needs or substance abuse history.


C. Funding Limitation

        This Plan on performance outcomes is subject to Oregon law. Nothing in this Plan will
be construed as permitting any violation of Article XI, Section 7 of the Oregon Constitution or
any other law regulating liabilities or monetary obligations of the State of Oregon. The State
will make diligent efforts to obtain the funding, appropriations, limitations, allotments, or other
expenditure authority necessary to implement the terms of this Plan.


D. Performance Outcomes

      OHA agrees to the following performance outcomes. Unless otherwise specified, the
completion date for all provisions is July I, 2019.

Assertive Co1111111111i~}' Treat111e11t ("ACT'')

       1.      OHA will increase the number of individuals with SPMI served by ACT teams.
OBA will provide ACT services to everyone who is referred to and eligible for ACT, and will
meet the following metrics:

                 a.      1,050 individuals will be served by the encl of year one (June 30, 2017).

                 b.      2,000 individuals will be served by the end of year two (June 30, 2018).

                c.       After year two (after June 30, 2018), if 10 individuals in a CCO region
                         have been referred, are eligible and are appropriate for ACT, and are on a
                         waitlist to receive ACT that has lasted for more than 30 clays, OHA will
                         take action to reduce the waitlist and serve those individuals by (i)
                         increasing team capacity to a size that is still consistent with fidelity
                         standards, or (ii) by adding additional ACT team(s).

                cl.      OHA may waive the fidelity requirements regarding the number of
                         individuals served by a team and the proportional reduction in staff for
                         ACT teams in rural areas if the teams are unable to achieve fidelity. OHA
                         shall report on any such waiver to USDOJ.

                e.       By July 1, 2016, OHA will develop criteria for admission to ACT
                         consistent with the definition in this Plan and based on national standards
                         and provide them to USDOJ.


                                                   5

                                                              Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                                Declaration of Tom Stenson, Exh. A, Page 5 of 21
     Case 3:02-cv-00339-AN            Document 107-1          Filed 05/29/19           Page 6 of 21




                  f.     Thereafter, OHA will incorporate those admission criteria into
                         administrative rules.

        2.        Individuals who meet the admission criteria for ACT will be admitted to ACT.

       3.      OHA will track denials of individuals to ACT teams to determine if denials are
based on established admission criteria. OI-IA shall take corrective action if providers are
improperly rejecting individuals for ACT services.

        4.     OHA will gather the data listed below regarding individuals with SPMT receiving
ACT services. These data points will be collected internally as a part of the quality improvement
monitoring or ACT programs to determine the effectiveness of individual programs and the
statewide effectiveness of ACT. The information will be used to identify areas for technical
assistance and training. OHA will establish regular reporting of these metrics, and these reports
will be made available to USDOJ.

                  a.     Number of individuals served;

                  b.     Percentage of clients who are homeless at any point during a quarter;

                  c.     Percentage of clients with safe stable housing for 6 months;

                  cl.    Percentage of clients using emergency departments during each quarter for
                         a mental health reason;

                  e.    Percentage of clients hospitalized in OSH during each quarter;

                  f.    Percentage of clients hospitalized in an acute care psychiatric facility
                        during each quarter;

                  g.    Percentage of clients in jail at any point during each quarter;

                  h.    Percentage of individuals receiving Supported Employment Services
                        during each quarter; and

                  L     Percentage of individuals who are employed in competitive integrated
                        employment, as defined above.

      5.      The services measured in paragraphs D.l to D.4 are for all services billed to
Medicaid, regardless of whether the Medicaid claim was accepted, and for services through
OHA that are paid for with state general funds used for treatment of the indigent.


Crisis Services

       6.     OBA will expand its mobile crisis services as follows: by the encl of year t·wo
(June 30, 2018), mobile crisis services will be expanded so that they are available statewide.


                                                  6

                                                              Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                                Declaration of Tom Stenson, Exh. A, Page 6 of 21
     Case 3:02-cv-00339-AN            Document 107-1          Filed 05/29/19            Page 7 of 21




        7.      OIJA will increase the number of individuals served with mobile crisis services,
as follows:

                a.     During year one (July 1, 20 16 to June 30, 2017), 3,500 people wiII be
                served by mobile crisis.

                b.     During year two (July 1, 20 17 to June 30, 20 18), 3,700 people will be
                served by mobile crisis.

        8.      OHA will track and report the number of individuals receiving a mobile crisis
contact.

                a.      By the end of year one (June 30, 20 17), OHA will develop a methodology
                        to track dispositions after a mobile crisis contact.

                b.     Six months after the development of the methodology, OHA will begin
                       reporting the number of individuals whose disposition from mobile crisis
                       is admission to Acute Care.

                c.     By the encl of year two (June 30, 2018), Oregon will report the number of
                       individuals whose dispositions after contact with mobile crisis result in
                       stabilization in a community setting rather than arrest, presentation to an
                       emergency department, or admission to an acute care psychiatric facility.

       9.       ny the end of year one (June 30, 20 17), for areas that are not rnral or the frontier,
mobile crisis teams shall respond "from the initial call to face to face" within 1 hour.

        10.     For frontier areas, the following outcomes apply.

                a.     By the end of year one (June 30, 2017), a mobile crisis team member shall
                       respond "from the initial call to face to face" within 3 hours.

                b.     During year two (July 1, 20 17 to June 30, 20 18), OIIA shall review its
                       progress against this standard and against best practices to determine if
                       adjustments are needed.

        11.   Jn rural areas, by the end of year one (June 30, 2017), a mobile crisis team
member shall respond "from the initial call to face to face" within two hours.

        12.   In frontier and ntral areas, a person \.Vho is trained in crisis management (such as a
person from a crisis line or a peer) shall call within 1 hour.

                a.     During year two (July 1, 2017 to June 30, 2018), OHA shall review its
                       progress against this standard and against best practices to determine if
                       adjustments are needed.

        13.     OJIA will develop and enforce uniform standards for hotline services and County
Crisis Lines.

                                                  7

                                                               Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                                 Declaration of Tom Stenson, Exh. A, Page 7 of 21
     Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19           Page 8 of 21




Supported Housing

       14.   OHA's housing efforts will include an increase in the number of individuals with
SPMI in supported housing, as follows:

               a.       Jn year one (July 1, 2016 lo June 30, 2017), at least 835 individuals will
               live in supported housing.

               b.       Jn year t\vo (July 1, 2017 to June 30, 2018), at least 1,355 individuals will
               live in supported housing.

               c.      Jn year three (July 1, 2018 to June 30, 2019), at least 2,000 individuals
               will live in supported housing.

OHA recognizes that individuals may decline housing offered to them. However, OT-IA will
make best efforts to match individuals to housing that meets their needs and individual choices.

        15.     OllA will collect data regarding the housing stock or inventory that is available
for individuals with SPML OHA will also continue to track the number of individuals with
SPMI receiving supported housing. This information will be used to make a budget request for
affordable housing for individuals with SPMI in connection with OHA's 2017- 2019 budget.


Peer-De/ii1ered Services

        16.    OHA will increase the availability of peer-delivered services, consistent with the
definition above, as follows:

               a.      By the encl of year one (June 30, 2017), OBA will increase the number of
                       individuals who are receiving peer-delivered services by 20%.

               b.     By the end of year two (June 30, 2018), OHA will increase the number of
                      individuals who are receiving peer-delivered services by an additional
                      20%.

        17.     OHA measures the number of peer-delivered services by using Medicaid billing
data. In Oregon, many individuals receive peer-delivered services which are billed under
another Medicaid billing code, and which are not captmed in this methodology. Accordingly,
OHA believes that this methodology significantly undercounts the number of persons actually
receiving peer-delivered services in Oregon. Nevertheless, OHA agrees to use this methodology
in order to track increases in peer-delivered services and meet the metrics set by this provision.
OHA will continue to explore better and more accurate ways to count peer-delivered services. If
a more accurate method is identified, 01-IA may agree to modify the methodology to track the
provision of peer-delivered services.

      18.     The services measured in paragraphs D.16 and D.17 are for all services billed to
Medicaid, regardless of whether the Medicaid claim was accepted, and for services through
OHA that are paid for with state general funds used for treatment of the indigent.
                                                8

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                               Declaration of Tom Stenson, Exh. A, Page 8 of 21
     Case 3:02-cv-00339-AN           Document 107-1         Filed 05/29/19           Page 9 of 21




Oregon State Ilospital

       19.     Paragraphs D .20 to D.26 below apply on ly to civilly-comm itted adult individuals
at Oregon State Hospital ("OSH"), except to the extent specifically noted in D.26 below.

     20.      Discharge from OSH will occur as soon as an individual is ready to return to the
community, as follows:

               a.      By the end of year one (June 30, 20 17), 75% of individuals who are Ready
                       to Place/Ready to Transition will be discharged within 30 calendar days of
                       placement on that list

               b.      By the end of year two (June 30, 2018), 85% of individuals who are Ready
                       to Place/Ready to Transition will be discharged within 25 calendar days of
                       placement on that list

               c.       By the end of year three (June 30, 2019), 90% or individuals who are
                       Ready to Place/Ready to Transition will be discharged within 20 calendar
                       days of placement on that list.

               cl.    If the last calendar day for a discharge within a timeframe found in
                      subparagraphs (a) through (c) above falls on a weekend or holiday, that
                      timeframe shall be extended to the next business day.

               e.      OSH wi ll track and report on discharges that are extended to and occur on
                       the business day following a weekend clay or holiday under subparagraph
                       (cl) above.

               f.     OHA agrees that discharges from OSH of members of a Coordinated Care
                      Organization ("CCO") should be consistent with the Oregon
                      Administrative Rules. OHA will work with CCOs to help them meet their
                      obligations regarding the discharge of their members from OSTI,
                      consistent with the Oregon Administrative Rules.

 .     21.    The preferred di scharge is one where an individual is discharged from OSII
within 72 hours of the determination that the individual is Ready to Pl ace/Ready to Transition.

       22.    OHA will enter into performance-based contracts to help it pmsue paragraphs
D.20 and D.21. These contracts may be with Community Mental Health Programs ("CMHPs"),
CCOs, or with other entities, as appropriate.

       23 .    OSH will discharge individuals with linkages to appropriate services, as fo llows:




                                                9

                                                            Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 9 of 21
    Case 3:02-cv-00339-AN            Document 107-1         Filed 05/29/19           Page 10 of 21




               a.      Everyone discharged from OSH who is appropriate for ACT shall receive
                       ACT or an evidence-based alternative. 1

                            1.   OHA shall document efforts to provide ACT to individuals who
                                 initially refuse ACT services, and shall document all efforts to
                                 accommodate their concerns.
                           11.   OHA shall offer alternative evidence-based intensive services for
                                 individuals discharged from OSH who refuse ACT services.

               b.      Everyone discharged from OSH who is determined not to meet the leve l of
                       care for ACT shall be discharged with services appropriate to meet their
                       needs.

       24.    At the encl of year one (June 30, 20 17), OSH wi II discharge 90% of individuals
within 120 days of aclmission. 2

               a.      As of the effective date of this Plan and continuing thereafter, if an
                       individual is at OSH for more than 90 days, the OHA Director or her
                       designee shall perform a clinical review of the individual's status to
                       determine whether a continued stay at OSH is necessary.

               b.      When a review is performed under subparagraph (a) above or (cl) below,
                       the justification for the individual's stay shall be clearly documented.

               c.      If the OHA Director or her designee determines that there is an
                       appropriate clinical justification for the individual to remain at OSH, the
                       Director or her designee shall approve the extension of the individual's
                       stay for up to 45 additional days.

               cl.     If an extension has been approved, the OHA Director or her designee shall
                       conduct a follow-up clinical review of the indiv idual's status every
                       additional 45 days.

               e.      If the OHA Director or her designee determines that there is not an
                       appropriate clinical justification for the individual to remain at OSH, the
                       Director of OSH shall work to expeditiously identify and move the
                       individual to an appropriate clinical placement.

               f.      OHA will review best practices on this issue annually.

1
  Services will be offered to everyone, but this involves an issue of individual cho ice. OHA shall
make diligent efforts to inform each individual leaving OSH who is el igibl e for ACT about ACT
services, in order to understand and address the individual 's concerns about ACT and to tailor
ACT services to the individua l. OHA will provide data to USDOJ about individuals by quarter,
who were offered ACT services and refused.
2
  As or July 20 15, the average length of stay at OSH for civilly conunitted individuals was 7.3
months.
                                                  10

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 10 of 21
    Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19           Page 11 of 21




         25.     Every individual discharged from Oregon State Hosp ital shall be di scharged to a
community placement in the most integrated setting appropriate for the individual. Discharge
shall be to housing consistent with the individual 's treatment goals, clinical needs, and the
individual's informed choice. The individual's geographic preferences and housing preferences
(e.g., living alone or with roommates) shall be reasonably accommodated, in light of cost,
availabi lity, and the other factors stated above. Cost shall not be used as a justification for
denying housing. Discharges shall not be to a secure residential treatment facility unl ess
clinically necessary. No one shall be discharged to a secure residential treatment facility without
the express approval of the Director of OHA or her designee.

       26.    If OTJA utilizes interim, short-term, community-based housi ng for exceptional
cases where individuals are ready to di scharge from more restrictive settings and for whom
permanent housing is not yet available, the following limitations shall apply:

               a.      OHA may make available interim, short-term, community-based housi ng
                       for individuals who are ready to discharge from OSH or from secure
                       residential treatment facilities ("SRTFs") and for whom permanent
                       housing is not yet available. OIIA may also utilize such housing for
                       individuals who are ready to di scharge from acute care psychiatric
                       facilities in accordance with paragraph D.33. Interim housing shall have
                       no more than 5 individuals per unit. An individual's stay in interim
                       housing shall not last more than two months.

               b.      Individuals in interim housing shall be moved to long-term integrated
                       housing within two months. Individuals in interim housing shall receive
                       all services specilied in their discharge pl an.

               c.      OHA shall report to USDOJ on all individuals who are placed in interim
                       housing and the steps OJ-IA is taking to place them in long-term integrated
                       housing.

               cl.     OHA will phase out any interim housing or convert it to long-term
                       integrated housing consistent with this Plan by July 1, 20 19.

               e.      OHA shall have no more than 20 interim housing slots.


Acute Psycliiatric Care

        27.    All individuals with a serious and persistent mental illness who are discharged
from Acute Ca re Psychiatri c Facilities (not including OSH) will have docu mentation of linkages
to timely, appropriate behavioral and primary health care in the community prior to discharge.

       28.     OHA shall continue with its process to emoll all or substant ially all indigent
individuals with SPMI not yet enrolled in Medicaid prior to discharge from acute care
psychiatric facilities or emergency departments, consistent with state law.


                                                 11

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 11 of 21
    Case 3:02-cv-00339-AN            Document 107-1          Filed 05/29/19           Page 12 of 21




          29.     All individuals di scharged from an acute care psychiatric fac ili ty w ill be
presented a "warm handoff" to a community case manager, peer bridger, or other community
provider prior to discharge. OHA shall require acute care psychiatric faci liti es to report to OHA
all individuals who refused a warm handoff on a quarterly basis, and 01-IA shall report this
information to USDOJ, beginning with data for the second quarter of year one (October I, 2016
to December 31, 2016). OHA shall provide thi s as aggregate data by acute care psychiatric
facility. A warm handoff is the process of tran sferring a client from one provider to another, prior
to discharge, which includes face-to-face meeting(s) with the client, and which coordinates the
transfer of responsibility for the client' s ongoing care and continu ing treatment and services. A
warm handoff shall either (a) include a face-to-face meeting with the community provider and
the client, and if possible, hospital staff, o r (b) provide a transitional team to support the client,
serve as a bridge between the hospital and the community provider, and ensure that the cl ient
connects with the community provider. For warm handoffs under subparagraph (b), the
transi tional team shall meet face to face with the client, and if possible, with hospital staff, prior
to discharge. Face-to-face in person meetings are preferable for warm handoffs. However, a
face-to-face meeting may be accomplished through technological solutions that provide two-way
video-like communication on a secure line ("telehealth"), when either distance is a barrier to an
in person meeting or incliviclualizecl clinical criteria support the use of telehealth.

               a.      By the end of year one (June 30, 2017), 60% of individuals discharged
                       from an acute care psychiatric faci lity wi ll receive a warm hancloff to a
                       community case manager, peer bridger, or other community provider.

               b.      I3y the encl of year two (June 30, 2018), 75% of individuals discharged
                       from an acute care psychiatric facility wi ll receive a warm hancloff to a
                       community case manager, peer briclger, or other community provider.

               c.      By the end of year three (June 30, 2019), 85% of individua ls discharged
                       from an acute care psych iatric facil ity will receive a warm handoff to a
                       community case manager, peer bridger, or other community provider.

     30.    OHA will continue to require that individuals receive a follow up visit with a
community mental health provider within 7 days of discharge, and OHA will report this data.

        31 .   OHA w ill reduce recidivism to acute care psychiatric faciliti es, and OHA will
take the following steps.

               a.      OHA wil l monitor and report the 30 and 180 clay rates of readm ission, by
                       acute care psychiatric facility.

               b.      OHA will provide a management plan for contacting and offering services
                       to individual s with two or more readmissions to an acute care psychiatric
                       hospital in a six month period designed to assist the individua ls to avoid
                       unnecessary readmission in acute care hospitalization.

       32.    OHA will identify individuals with SPMl who are homeless and who have had
two or more readmissio ns to an acute care psychiatric hospital in a six mo nth period. OHA or

                                                  12

                                                              Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                               Declaration of Tom Stenson, Exh. A, Page 12 of 21
    Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19           Page 13 of 21




another system participant will connect these individuals to a hous ing agency or mental health
agency with access to housi ng, in order to work to ensure that those individuals are linked to
housing in an integrated setting, consistent with the individual 's treatment goals, clinical needs,
and the individual's informed choice.

        33.    If necessary, OHA may make use of the interim housing described in paragraph
D.26 for the individuals described in paragraph D .32 above. If interim housing is utilized fo r
this purpose, paragraph D.26.b does not apply.

         34.     OHA w ill work with acute care psychiatri c faci lities, CCOs, and CMHPs to seek
to ensure that individuals with SPMI who are discharged from acute care psychiatric faci lities are
discharged to housing that meets the individual's immediate need for housing. OHA wi ll
establi sh requirement s for acute care psychiatric hospitals to assess the housing needs of
individ uals with SPMI. OHA shall require that, fo r all individuals with SPMI who are CCO
members, the acute care psychiatric facilities shall consult with the individual 's CCO in
developing the assessment. The assessment will be documented in a plan for integrated housing
that is part of the individual's discharge plan, and will be based on the individual's treatment
goals, clinical needs, and the individual's informed choice. The hospital will notify the
indiv idua l's community provider regarding the plan for housing in order for the provider to
facilitate the implementation of the plan for housing.

       35.     OHA will measure the average length of stay of ind ividuals with SPMI in acute
care psychiatric faci lities, by hospital. OHA will also report the number of individuals with
SPMI in each facility whose length of stay exceeds 20 days.

        36.     T he services measured in paragraphs D.27 to D.35 arc for all services billed to
Medicaid, regardless of whether the Medicaid claim was accepted, and for services that are paid
for with state general funds used for treatment of the indigent.


Emergency Depart111e11ts

        37.     OHA will work with hospitals to collect data regarding ind ividuals with SPM I
who present to emergency departments for mental hea lth reasons. This data will be analyzed to
identify issues related to individuals staying in the emergency department for over 23 hours.
OHA will identify reasons for individuals remaining in emergency departments beyond 23 hours
and will provide proposals for solutions to address this issue. This analysis will be presented to
the Legislature during the next legislative session. This analysis wi ll be prov ided to the USDOJ.
OHA will initiate additional community-based strategies to address this issue, beginning in the
fall of2016.

        38.     T he data in the analysis described in paragraph D. 37 wi ll also be used to assess
the need s of individuals with SPMI who leave the emergency department and strategies for
linking them to services. OBA will initiate strategies to increase the number of individuals w ith
SPMI who are connected lo services at the time that they leave emergency departments and wi ll
collect data to measure the effectiveness of these strategies.


                                                 13

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 13 of 21
    Case 3:02-cv-00339-AN          Document 107-1          Filed 05/29/19            Page 14 of 21




       39.      As provided in paragraph D.28, OHA shall continue its process to enroll all or
substantially all indigent individuals with SPMI not yet enrolled in Medicaid prior to discharge
from emergency departments.

        40.    OHA will reduce recidivism to emergency departments for psychiatric purposes,
by taking the following steps:

               a.     OHA will track emergency department readmissions of individuals with
                      SPMI by hospital. Emergency departments include the use of psych iatric
                      emergency services, such as the proposed Unity Center in Portland. OHA
                      will monitor the number of individuals with SPMI with two or more
                      readmissions to an emergency department for psychiatric reasons in a six
                      month period, and will continue to work with CCOs and CMHPs to better
                      address the needs of these individuals in Jess institutional settings.

               b.     OHA shall enter into collaborative efforts with CCOs and CMHPs to
                      develop and implement plans to (a) address the needs of individuals with
                      SPMT with two or more readmissions to an emergency department for
                      psychiatric reasons in a six-month period, and (b) meet their needs in less
                      institutional settings where appropriate. 01-IA will seek contract
                      amendments to CCO contracts in 2018 that will require that acute care
                      psychiatric hospitals develop and implement plans to address the needs of
                      these individuals and address their needs in less institutional settings.

       41.     OHA will reduce the rate of visits to general emergency departments by
individuals with SPMI for mental health reasons, as follows 3 :

               a.     By the end of year one (June 30, 2017), there wi11 be a I 0% reduction
                      from the baseline.

               b.     By the end of year t\1.,10 (June 30, 20 18), there will be a 20% reduction
                      from the baseline.

               c.     By the end oryear three (June 30, 20 19), OHA will have a quality
                      improvement process to track whether emergency room visits are
                      decreasing.

        42.     OHA agrees to meet with the Independent Consultant to discuss the use of
emergency departments by individuals with SPMT who present to emergency departments for
mental health reasons, but an additional performance outcome on this issue will not be added to
this Plan or otherwise added as a performance outcome.

       43.     OHA is working with hospitals to determine a strategy for co llecting data
regarding individuals with SPMI who are in emergency departments fo r longer than 23 hours.
OHA will begin reporting this information in July 2017, and will provide data by quarter

3
 General emergency departments do not include psychiatric emergency services, such as the
proposed Unity Center in Portland.
                                            14

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 14 of 21
    Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19           Page 15 of 21




thereafter. OHA will report this information by region. OH A \;viii pursue efforts to encourage
reporting on a hospital-by-hospital basis.

         44.     The services measured in paragraphs D.37 to D.43 are for all services billed to
Medicaid, regardless of whether the Med icaid claim was accepted, and for services that are paid
for w ith state general funds used for treatment of the indigent.


Supported Employme11t

        45 .   OHA will repo rt the following:

               a.      The number of individuals with SPMI w ho receive supported employment
                       services who are employed in competitive integrated employment, as
                       defined above.

               b.      The number of individuals with SPMI who no longer receive supported
                       employment services and are employed in competitive integrated
                       employment without currently receiving supportive services from a
                       supported employment specialist (but who may rely upon natural and
                       other supports).

      46.    OHA will regularly monitor the foregoi ng data for the purpose of improving
Supported Employment services.

      47.     The services measured in paragraphs D.45 and D.4 6 are for all services billed to
Medicaid, regardless of whether the Medicaid claim was accepted, and for services through
OHA that are paid for with state general funds used fo r treatment of the indigent.

        48.   Receipt of supported employment services does not guarantee a j ob o r work for a
specific number of hours.


Secure Residential Treatment Facilities

       49.     Civ illy committed individuals in secure residential treatment faci lities ("SRTFs")
whose clinical needs no longer necessitate placement in a secure facility shall be moved
expeditiously to a community placement in the most integrated sett ing appropriate for that
individual.

               a.      These moves shall be consistent with the housing provisions in paragraph
                       D. 50.

               b.      OHA will seek to reduce the length of stay of civilly committed
                       individuals in secure residential treatment facilities, as follows:

                       1.     By the end of year one (June 30, 20 17), there will be a I 0%
                              reduction from the baseline.
                                               15

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 15 of 21
     Case 3:02-cv-00339-AN           Document 107-1         Filed 05/29/19           Page 16 of 21




                        11.     By the encl of year two (June 30, 20 18), there w ill be a 20%
                                reduction from the baseline.

                c.     OTTA. will regularly report on the number of civilly committed indi viduals
                       in SRTFs, their lengths of stay, and the number of individuals who are
                       discharged. Starting at the beginning of year two of this Plan (Ju ly 1,
                       2017), OHA will collect data identifying the type of, and the placement to
                       which they are discharged.

         50.     Civilly committed individuals who are discharged from secure residential
 treatment facilities shall be moved to a community placement in the most integrated setting
 appropriate for that individual. Discharge shall be to housing consistent w ith the individual's
 treatment goals, clinical needs, and the individual 's informed cho ice. The individual's
 geographic preferences and housing preferences (e.g., living alone or with roommates) shall be
-reasonably accommodated in light of cost, availability, and the other factors stated above. Cost
 shall not be used as a justification for denying housing.


 Criminal Justice Dillersio11

         51.     The intent of the following provisions is to reduce the contacts between
individuals with SPMI and law enforcement due to mental health reasons. OHA hopes to reduce
arrests, jail admissions, lengths of stay in jail, and recidivism for individuals with SPMI w ho are
involved with law enforcement due to a mental health reason.

        52.     OHA will work to decrease the number of individuals with serious and persistent
mental illness who are arrested or admitted to jail based on a mental health reason, by engaging
in the fo llowing strategies:

                a.     OHA will continue to report the number of individuals with SPMI
                       receiving jail diversion services and the number of reported diversions.
                       OBA will require, under new contracts w ith entities providing jail
                       diversion services, that contract providers report the number of diversions
                       pre- and post-arrest. OHA wi ll include this requirement in all RFPs for
                       any new jail diversion programs.

                b.     By July 2016, OI-IA will begin to work collaboratively with the Oregon
                       Sheriffs' Association and the Association of Community Mental Health
                       Programs to determine strategies to collect data on ind ividuals w ith SPMI
                       entering jails.

               c.      By July 2016, OHA will contract with The GAINS Center to consult o n
                       the expansion of the use of the Sequential Intercept Model by local
                       jurisdictions across the State, and will encourage local jurisdictions to
                       adopt and implement interventions in accordance with this model. New
                       fonding for jail di version services will require the county to adopt the
                       Sequential Intercept Model.

                                                 16

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 16 of 21
       Case 3:02-cv-00339-AN         Document 107-1         Filed 05/29/19            Page 17 of 21




                  cl.    As of July 20 l 6, OHA will track arrests of indi viduals with SPMTwho are
                         enroll ed in services and will prov ide data by quarter thereafter.

                  e.     OHA will provide USDOJ with data quarterly from the jail diversion
                         programs it funds, subject to paragraph F.6 below.

                  f.     OBA shall continue to collect data regarding individuals with SPMI
                         emolled in mental health services who are arrested, the county where these
                         individuals encountered law enforcement, ex isting jail diversion services,
                         the impacts of those services, and obstacles to the success of those
                         services. OHA will provide the results of any mapping and any additional
                         relevant data to USDOJ and wi ll allocate existi ng fund ing as necessary to
                         support additional or enhanced jail diversion programs based on the
                         results. OH A-funded jail diversion grants shall prioritize pre-charge
                         diversion activities.

         53.     OHA shall work with local jurisdict ions to develop strategies to share information
wi th jails regarding the mental health diagnosis, status, medication regimen, and services of
indi.viduals with SPMI who are incarcerated .


E. Quality and Performance Improvement

       1.     OHA will continue to develop and implement a quality and performance
improvement system specific to the performance outcomes described in Section D of this Plan.
The quality and perfo rmance improvement system will seek to ensme compliance with these
outcome measmes and will seek to ensure that the community-based services for individuals
with SPMI described in this Pl an are offered in accorclance with the requirements of the Plan.

         OHA will seek to ensure that the mental health and other services and supports for
individuals with SPMI addressed in the performance outcomes in Section D of this Plan and
fund ed by the State are of good quality and are sufficient to provide reasonable opportunities to
help individuals achieve increased independence and greater integration into the community, and
avoid negative outcomes, including harm, hospitalization, contacts with law enforcement, and
institutionali zati on. The quali ty improvement measures described in thi s Plan do not, however,
establish a level of benefits or standard of care. 4

       The quality and performance improvement system will monitor the fo llowing
performance outcomes in this Plan:

              o   Assertive Community Treatment Services (paragraphs D. I to D.5)
              o   Crisis Services (paragraphs D.6 to D. 13)
              o   Supported Housing (paragraphs D. 14 to D.1 5)
              o   Peer-Delivered Services (paragraphs D. 16 to D.18)
              o   Oregon State Hospital (paragraphs D.19 to D.26)

4   See Olmstead, 527 U.S. at 603 n. 14
                                                  17

                                                              Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                               Declaration of Tom Stenson, Exh. A, Page 17 of 21
    Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19           Page 18 of 21




            o   Acute Psychiatric Care (paragraphs D .27 to D.36)
            o   Emergency Departments (paragraphs D.37 to D.44)
            o   Supported Employment (paragraphs D.45 to D.48)
            o   Secure Residential Treatment Facilities (paragraphs D.49 to D.50)
            o   Criminal Justice Diversion (paragraphs D.51 to D .53)

        2.     OHA will maintain a system for accountability for the performance outcomes
specified in Section D of this Plan, by including the following elements of OHA's USDOJ
Project governance structure:

       a.       USDOJ Agreement Stakeholder Advisory Team: composed of a cross section of
                diverse stakeholders, including a minimum of 20% individuals with lived
                experience, to review and comment on the progress towards and performance of
                the outcomes specified in Section D and provide advice to OHA regarding the
                strategies being employed.

       b.       Olmstead Plan Stakeholder Team: composed of membership from the Addicti_ons
                and Mental Health Planning and Advisory Council ' s Housing and Olmstead
                Subcommittee, USDOJ Agreement Stakeholder Advisory Team, OSH
                Community Reintegration Committee and Oregon Consumer Advisory Council
                (OCAC) to review and comment on the progress towards and performance of the
                outcomes specified in Section D and provide advice to OHA regarding the
                strategies being employed.

       3. Additionally, OHA will:

       a.       Provide minutes of meetings, formal correspondence and reports, if any, that may
                issue from the above groups to USDOJ and the Independent Consultant.

       b.       OHA may modify the process described in paragraph E.2 above in consultation
                with the Independent Consultant.

        4.     OHA will maintain a quality improvement system for behavioral health services
that incorporates the following elements:

       a.      Data collection and analysis: OHA shall collect and utilize consistent, reliable
       data regarding services for individuals with SPMI receiving publicly flmded behavioral
       health services in order to:

                   (i). Identify trends, patterns, strengths, successes, and problems at the
                   individual, service-delivery, and systemic levels, including, but not limited to,
                   quality of services, service gaps, accessibility of services, and the success and
                   obstacles to serving individuals with SPMT;

                   (ii). Develop preventative, corrective, and improvement measures to address
                   identified problems and build on successes; and

                                                 18

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 18 of 21
    Case 3:02-cv-00339-AN           Document 107-1          Filed 05/29/19           Page 19 of 21




                   (iii) Track the efficacy of preventative, corrective, and improvement measmes
                   and revise these measures as appropriate.

        b.     OHA will issue regulations or enter into perfonnance-based contracts with
        CMHPs and other providers, either directly or through its CCOs, that specifi ca ll y
        describe expectations with regard to the outcomes in Section D and the services and
        supports to be provided to individuals with SPMI consistent with the provisions of this
        Plan.

        c.      Supported Employment and Assertive Community Treatment Providers sha ll
        continue to be reviewed arurnally for fidelity to a specific set of standards that
        demonstrate that the program is following an evidence-based model. Providers may not
        bill Medicaid or use General Funds unless they are subject to this annual fidelity review.
        These reviews will include interviews with participants in the program and their fam ilies
        when appropriate. Regardless of a provider 's overall fidelity score, if a fidelity review
        identifies particular areas of weakness, OBA or the Oregon Supported Employment
        Center for Excellence or the Oregon Center of Excellence for Assertive Community
        Treatment shall provide technical assi stance or other support to the provider, in order to
        help the provider remedy that deficiency. OHA or the relevant Center for Excellence
        shall review the provider 's implementation of any corrective measures, shall evaluate
        whether the provider's performance in those areas improves, and shall take further action
        as necessary to assist the provider in remedying the defi ciency.

        d.     If a CMHP or CCO is acting in a way that OHA believes w ill frustrate substantial
        performance of this Plan, OHA will develop a corrective action plan, with timelines fo r
        implementation, oversight and monitoring by OHA.

         5.      To forther system transparency, OHA will post on its website semiannual reports
regarding its quality improvement efforts under thi s Section E. OHA will also post reports
regarding its performance of mental health outcomes found in other quality improvement
initiatives that OHA has already initiated. These are (I ) the Special Terms and Conditions of the
July 11, 201 5 Medicaid Demonstration, (2) metrics establi shed by the Oregon Metrics and
Scoring Committee, and (3) external quality reviews of behavioral health services by coordinated
care organizations.

        6.     The activities in this Section E will be used by OHA to direct and measure the
implementation of the provisions in Section D. OHA's performance shall be measured by
whether it substantially complies with those performance outcomes and the other obligations
specified in Section D, and with whether OHA establishes or maintains the quality improvement
measures required by this Section E. Section E and the activities that are described in it shall not
be used to establish additional performance metrics for which OHA or the State would be
responsible.

        7.      Any review of OTTA's performance of this Section E shall be limited to the extent
it serves individual s with SPMI.

                                                 19

                                                             Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                              Declaration of Tom Stenson, Exh. A, Page 19 of 21
     Case 3:02-cv-00339-AN          Document 107-1         Filed 05/29/19           Page 20 of 21




F. Compliance and Reporting.

1.      OB A will contract with Pamela S. Hyde, who shall serve as the Independent Consultant
to assess OBA 's performance under this Plan. The Consultant's role in assessing OHA's
perfo rmance shall be limited to assessing whether OHA is meeting the provisions of this Plan.
The Consultant 's engagement shall terminate three years from the execution of this Plan (July 1,
201 9), unless other wise agreed in a writing signed by the parties.

2.      At OHA's specific written request, the Independent Consultant will be ava ilable to assist
OHA in implementing the provisions of the Plan, including providing trai ning and teclmical
assistance. Such assistance may include recommendations to facili tate implementation,
including quality and performance improvement processes, and identify ing any obstacles to
implementation and strategies to address such o bstacles.

3.     Every six months, the Independent Consultant shall assess compliance as provided in
paragraph F. l and shall issue semi-annual reports of those assessments. The Independent
Consultant shall prov ide the report in dra ft to OHA and USDOJ, and OTTA and USD_OJ shall
have 30 days to comment on the draft report. A ny report or statement by the Consultant is
intended to aid in the resolution of this matter. OB A shall make these reports public.

4.      OHA agrees to faci litate the Independent Consultant's access to documents, staff, and
other in formation necessary to assess OIIA's implementation of the Plan. OH/\ shall also make
a designated contact person available to respond to requests by the Independent Consultant.
Contacts with other staff persons shall be facilitated through this person.

5.      If Ms. Hyde is unable to continue to serve as the Independent Consulta nt during an
agreed-upon term of the engagement, or OHA and USDOJ mutually agree to replace Ms. Hyde,
OHA and USDOJ agree to j ointly select a replacement Independent Consultant. If OHA and
USDOJ are unable to agree on a replacement, OHA and USDOJ shall submit three proposed
cand idates each to the Chief Judge of U.S. District Court for the District of Oregon and ask the
Court to appoi nt a replacement. The Independent Consultant shall have experience
administering a state mental health system.


II
II




                                               20

                                                            Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                             Declaration of Tom Stenson, Exh. A, Page 20 of 21
    Case 3:02-cv-00339-AN          Document 107-1          Filed 05/29/19           Page 21 of 21




6.      OHA shall provide the data required under this Plan to USDOJ and the Independent
Consultant. All data shall be provided quarterly. Additionally, OHA shall provide a semi-
annual report about the data. To the extent that quarterly information from third parties, such as
from jail diversion providers, is not currently available, OHA shall seek contract amendments in
any contract entered into after July 1, 20 16 that will require that data reporting be done on a
quarterly basis.




       STATE OF OREGON, by and through
       the Oregon Health Authority


       By q{pL2;dt
       Lynne&\ion, Director




                                               21


                                                            Disability Rights Oregon v. Allen, 3:02-cv-00339-MO
                                                             Declaration of Tom Stenson, Exh. A, Page 21 of 21
